                                    Case 1:11-cv-00559-WMS Document 19-34 Filed 07/26/11 Page 1 of 1




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